Case 1:20-cr-00068-LEK Document 83-10 Filed 07/22/22 Page 1 of 6   PageID.918




                           EXHIBIT 11
Case 1:20-cr-00068-LEK Document 83-10 Filed 07/22/22 Page 2 of 6   PageID.919
Case 1:20-cr-00068-LEK Document 83-10 Filed 07/22/22 Page 3 of 6   PageID.920
Case 1:20-cr-00068-LEK Document 83-10 Filed 07/22/22 Page 4 of 6   PageID.921
Case 1:20-cr-00068-LEK Document 83-10 Filed 07/22/22 Page 5 of 6   PageID.922
Case 1:20-cr-00068-LEK Document 83-10 Filed 07/22/22 Page 6 of 6   PageID.923
